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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

JASON PARMELEY,                                          )
                                                         )
                              Petitioner,                )
                                                         )
           vs.                                           )      Case No . 20-cv-543-DWD
                                                         )
WARDEN WILLIAMS ,                                        )
                                                         )
                              Respondent.                )



                                   DECLARATION OF JOSEPH WILSON

           In accordance with the provisions of 28 U.S.C. § 1746, I, Joseph Wilson, make the

following unswom declaration, under penalty of perjury, pertinent to the above-styled and

numbered cause:

           1.       I am employed by the Federal Bureau of Prisons as Disciplinary Hearing

Administrator. All records attached to this declaration are true and accurate copies of BOP

records kept in the regular course of business. 1

           2.       As Disciplinary Hearing Administrator, I provide oversight and have direct

authority for the inmate discipline program, including training and supervising Discipline

hearing Officers (DHO ' s). DHO ' s are responsible for conducting hearings regarding acts of

misconduct by inmates. In doing so, they review incident reports and written statements; decide

which witnesses need to be called; take and record testimony relevant to the charges; obtain,

review, and weigh evidence; and determine whether or not the allegations of misconduct are

supported by the evidence submitted. They impose disciplinary sanctions in accordance with

BOP policy.


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    Sensitive and/or personal information has been redacted .
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        3.      Michael Puckett served as DHO for the disciplinary hearing held on February 5,

2020, for inmate Jason Parmeley, reg. no. 13231-045. Mr. Puckett has since retired, but I have

access to the documents relevant to the disciplinary hearing. Attachment 1 is the DHO "packet"

containing documents relevant to the disciplinary hearing.

        4.      Incident Report number 3349059 was written on January 5, 2020, charging

Parmeley with violation of Prohibited Act Codes 113 (Possession of any narcotics, marijuana,

drugs, alcohol , intoxicants, or related paraphernalia, not prescribed for the individual by the

medical staff). Attachment 1 at 2. The Incident Report states that on January 5, 2020, Officer

May conducted a random search of the cell in which Parmeley and one other inmate were

housed. Officer May found a small square piece of paper, which was sent to the Lieutenants'

office for testing. The paper tested positive for opium alkaloids, and Buprenorphine HCL. Id.

        5.      The incident report was delivered to Parmeley on January 6, 2020. It was

investigated, and referred to the Unit Disciplinary Committee (UDC). Id. On January 8, 2020,

the UDC referred the charges to the DHO for further hearing. Id. at 2,3.

        6.      On January 8, 2020, Parmeley was provided a "Notice of Hearing before the

DHO", and a copy of "Inmate Rights at Discipline Hearing." Id. at 4, 5. Parmeley did not request

a staff representative but requested inmate Jacob Burns, reg. no. 22688-026, as a witness. Id. at

5. Bums provided a statement saying the contraband was his and that Parmeley did not know

anything about it. Id at 6.

        7.      The DHO hearing was held on February 5, 2020. At the hearing, Parmeley

waived his right to a staff representative. Id at 22. The witness statement of inmate Burns was

read and considered. Id.

        8.      Parmeley denied the charges and stated " It was not mine. " Id.



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       9.      Ultimately, the DHO determined that the greater weight of the evidence supported

a finding that Parmeley committed the prohibited act. The specific evidence relied upon is

documented in Attachment 1 at 22-23. The DHO sanctioned Parmeley with 41 Days

Disallowance of Good Conduct Time, 90 Days Commissary Restriction, 90 Days Telephone

Restriction, 90 Days Visiting Restriction. Id. at 24.

        10.     The DHO report was finalized on April 3, 2020. However, it was not issued to

the inmate until July 16, 2020. Id. at 24.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on this

2.__ day of January, 2021.

Joseph Wils(J./h
U.S. Department of Justice
                          ~
Federal Bureau of Prisons




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